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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHENR DISTRICT OF TEXAS
                              FORT WORTH DIVISION

CHIMENG LO,                                    §
                                               §
        Plaintiff,                             §
                                               §
v.                                             §
                                               §          Civil Action No. 4:17-cv-00674-O
XPO LOGISTICS-SC OF TEXAS, LLC,                §
and XPO LOGISTICS, INC.,                       §
                                               §
        Defendants.                            §
                                               §
                                               §

                                            ORDER

        Before the Court are Plaintiff Chimeng Lo’s (“Plaintiff”) Motion for Conditional

Certification (ECF No. 31), filed December 8, 2017; Defendants’ Response (ECF No. 33), filed

December 29, 2017; and Plaintiff’s Reply (ECF No. 38), filed January 19, 2018. Having

reviewed the pleadings and the applicable law, the Court finds Plaintiff’s Motion for Conditional

Certification of Representative Action (ECF No. 31) should be and is hereby GRANTED.

I.      BACKGROUND

        Plaintiff brought an action against Defendants asserting claims to recover unpaid

overtime compensation pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201 et

seq. See Am. Compl., ECF No. 12. Defendants employed Plaintiff as an operations supervisor

from July 6, 2015 until July 17, 2016. Id. ¶ 5.3. Plaintiff alleges that, during his employment,

Defendants paid Plaintiff a weekly salary for all hours worked up to forty hours each week, and

an hourly rate of pay approximately equal to Plaintiff’s weekly salary divided by forty for all

hours worked beyond fifty, but no additional payment for the first ten hours of overtime. Id.

¶ 5.10. According to Plaintiff, Defendants never paid Plaintiff an overtime premium for the first


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ten hours of overtime work, or an additional “half-rate” for all hours beyond his first fifty hours.

Id. ¶ 5.11.

         Plaintiff also moved to certify a collective action under § 216(b) of the FLSA, seeking to

represent “[a]ll current and former ‘operations supervisors’ or other employees of Defendants

with similar job titles and responsibilities who were employed by Defendants during the three-

year period preceding the filing of this Complaint.” Id. ¶ 3.4. Plaintiff alleges that operations

supervisors were required to work with other hourly, non-exempt “associates” to complete the

tasks assigned to a particular job site, e.g. assembling materials on a production line, receiving

product in a warehouse environment, and other duties involving the building and shipping of

cellular communications devices. Id.; Pl.’s Mot. Cond. Cert. 14, ECF No. 31.

         On December 8, 2017, Plaintiff moved to conditionally certify a collective action and

provide notice to potential members. See Pl.’s Mot. Cond. Cert. ECF No. 31. In support of his

motion, Plaintiff showed that one other Plaintiff has opted-in, another potential plaintiff has

submitted a declaration, and these three have shown that, to the best of their knowledge, there are

other similarly situated operations supervisors who would opt-in to this lawsuit if they were to

receive notice. Pl.’s Mot. Cond. Cert. 16, ECF No. 31. The motion has been fully briefed and is

ripe for review.

II.      LEGAL STANDARD

         The FLSA provides that “[a]n action to recover the liability prescribed in [Section 216]

may be maintained against any employer . . . by any one or more employees for and in behalf of

himself or themselves and other employees similarly situated.” 29 U.S.C. § 216(b). Accordingly,

the district court may, in its discretion, facilitate notice to potential class members of their right

to opt-in to a collective action under § 216(b). See Valcho v. Dall. Cnty. Hosp. Dist., 574 F.



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Supp. 2d 618, 621 (N.D. Tex. 2008) (Fitzwater, C.J.) (citing Hoffman-La Roche, Inc. v. Sperling,

493 U.S. 165, 169 (1989)).

       The Fifth Circuit has applied two different approaches to determine whether certification

of an FLSA collective action should be approved. See Ryan v. Staff Care, Inc., 497 F. Supp. 2d

820, 823 (N.D. Tex. 2007) (Fish, C.J.); see also Acevedo v. Allsup’s Convenience Stores, Inc.,

600 F.3d 516, 518–19 (5th Cir. 2010). The first approach requires a certification process similar

to that of Federal Rule of Civil Procedure 23, whereby the plaintiffs must establish numerosity,

commonality, typicality, and representativeness to certify an FLSA class. See Ryan, 497 F. Supp.

2d at 823; Shushan v. Univ. of Colo. at Boulder, 132 F.R.D. 263 (D. Colo. 1990)); see also Fed.

R. Civ. P. 23. The other approach, introduced in Lusardi v. Xerox Corp., 118 F.R.D. 351 (D.N.J.

1987), employs a two-stage certification process consisting of (1) the notice stage, and (2) the

certification stage. Ryan, 497 F. Supp. 2d at 824.

       The Fifth Circuit has not adopted either approach, but has noted that there is a

“fundamental, irreconcilable difference” between “opt-in” collective actions under Section

216(b) of the FLSA and Rule 23 “opt-out” actions. See Clark v. City of Fort Worth, 800 F. Supp.

2d 776, 779 (N.D. Tex. 2011) (McBryde, J.) (citing LaChapelle v. Owens-Ill., Inc., 513 F.2d 286,

288 (5th Cir. 1975)); Songer v. Dillon Res., Inc., 569 F. Supp. 2d 703, 706 (N.D. Tex. 2008)

(McBryde, J.). A majority of federal courts, including those in this District, have applied the

Lusardi approach. See Ryan, 497 F. Supp. 2d at 824 (citing other Northern District of Texas

cases stating that the Lusardi approach is the “prevailing test among federal courts”) (internal

quotation marks omitted).

       During the first stage of the Lusardi approach—the notice stage—the plaintiff must

establish that there are other potential class members who are “similarly situated in their job



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requirements and pay provisions.” Marshall v. Eyemasters of Texas, Ltd., 272 F.R.D. 447, 449

(N.D. Tex. 2011) (internal quotation marks omitted); see also Lentz v. Spanky’s Rest. II, Inc.,

491 F. Supp. 2d 663, 669 (N.D. Tex. 2007) (Cummings, J.) (“The court must satisfy itself that

other ‘similarly situated’ individuals justify notice because they desire to opt-in and are

‘similarly situated’ with respect to job requirements and with regard to their pay provisions.”).

“[T]he court need not find uniformity in each and every aspect of employment” to find that the

plaintiff and the potential class members are “similarly situated.” Jones v. SuperMedia Inc., 281

F.R.D. 282, 288 (N.D. Tex. 2012) (Boyle, J.). “A factual basis for the allegations must be

presented, and there must be a showing of some identifiable facts or legal nexus that binds the

claims so that hearing the cases together promotes judicial efficiency.” Id. at 287 (internal

quotation marks omitted); see also Marshall, 272 F.R.D. at 449. This approach requires that a

plaintiff provide “substantial allegations” that potential class members were together victims of a

“single decision, policy or plan infected by discrimination.” Clark, 800 F. Supp. 2d at 779;

Songer, 569 F. Supp. 2d at 707.

        At the notice stage, the decision to facilitate notice of the action to potential class

members is usually based only on the parties’ pleadings and affidavits. Clark, 800 F. Supp. 2d at

778–79. A district court’s determination at this stage is made using a “fairly lenient standard”

because the court generally has minimal evidence. Jones, 281 F.R.D. at 287; see also Marshall,

272 F.R.D. at 449 (noting that the Lusardi standard is “admittedly lenient”). However, while the

notice stage typically results in conditional certification, it is by no means mandatory. Jones, 281

F.R.D. at 287; see also Clark, 800 F. Supp. 2d at 779 (quoting Songer, 569 F. Supp. 2d at 706)

(“While the plaintiffs’ burden at [the notice] stage is not onerous, neither is it invisible.”).




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        At stage two—the decertification stage—the court determines whether the class should

be maintained through trial. Ryan, 497 F. Supp. 2d at 824. This stage typically begins when the

defendant moves to decertify the class after discovery is largely complete. Lentz, 491 F. Supp. 2d

at 668. The collective action will proceed if the court finds the potential class members similarly

situated, but the class will be decertified if discovery fails to adequately identify “a pool of

claimants that are ‘similarly situated.’” Id.; see also Marshall, 272 F.R.D. at 449; Proctor v.

Allsup’s Convenience Stores, Inc., 250 F.R.D. 278, 280 (N.D. Tex. 2008) (Robinson, J.) (“At this

second stage, the burden is on the Plaintiff to prove that the individual class members are

similarly situated.”).

III.    ANALYSIS

        The Court now addresses Plaintiff’s motion for conditional certification. This case is

currently at the notice stage, and therefore, the Court must determine whether Plaintiffs have

produced substantial allegations that there are other potential class members “similarly situated”

with respect to their “job requirement and . . . pay provisions.” Marshall, 272 F.R.D. at 449;

Ryan, 497 F. Supp. 2d at 824–25.

        A.      Conditional Certification

        Plaintiff seeks to represent all operations supervisors who were employed by Defendants

at any time during the three-year period prior to the filing of his complaint. Pl.’s Mot. Cond.

Cert. 10, ECF No. 31. The Court finds that Plaintiffs have met their burden of establishing that

there are “similarly situated” potential class members. See Ryan, 497 F. Supp. 2d at 825; see also

White v. MPW Indus. Servs., Inc., 236 F.R.D. 363, 366–67 (E.D. Tenn. 2006) (discussing

standards applied by federal courts at the notice stage and concluding that “[t]he burden ... is not

heavy”). Plaintiff has provided substantial allegations that he, and the two other willing



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participants the Court has noticed of, are similarly situated to the potential class members. The

declarations show that the operation supervisors had similar job requirements and pay provisions

as Plaintiff. Pl.’s App. Mot. Cond. Cert. 12–14, 45–47, 210–11, ECF No. 32. Plaintiff has also

sufficiently alleged that the operations supervisors were all subject to a company-wide policy of

being denied overtime compensation, which was allegedly instituted by Defendants’

management. See Defs.’ Br. Supp. Resp. 4, ECF No. 33.

       Defendants focus on the differences in job duties between the operations supervisors and

argues that these “disparities” show that Plaintiff is not “similarly situated” with the proposed

class. See id. at 4–5. Defendants state that the operations supervisors in the different programs

“have jobs that vary significantly from one another” and each operations supervisor has a “very

unique job.” Id. at 13–14. But the Court need not find “uniformity in each and every aspect of

employment” to determine that Plaintiff and potential class members are similarly situated. See

Jones, 281 F.R.D. at 288; see also Tice v. AOC Senior Home Health Corp., 826 F. Supp. 2d at

996 (citing Allen v. McWane, Inc., No. 2:06–cv–158–TJ, 2006 WL 3246531, at *3 (E.D. Tex.

Nov. 7, 2006)) (“[T]he relevant inquiry [at the notice stage] is whether the potential class

members performed the same basic tasks and were subject to the same pay practices.”); Ryan,

497 F. Supp. 2d at 825 (“The positions need not be identical, but similar.”) (internal quotations

omitted). The evidence available at this stage shows that operation supervisors performed the

same basic tasks and any differences in duties between the operation supervisors’ positions are

not material. See Jones, 281 F.R.D. at 288 (“The remedial nature of the FLSA [and § 216

militate] strongly in favor[ ] of allowing cases to proceed collectively.”).

       While the Court must be satisfied that other “similarly situated” employees desire to opt

in, Clark, 800 F. Supp. 2d at 779; Lentz, 491 F. Supp. 2d at 669, numerosity is not a requirement



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for conditional certification under the Lusardi approach. See Tice, 826 F. Supp. 2d at 995. The

Declarations submitted by Plaintiff, including an opt-in Plaintiff, a sworn declaration, and

identification by name of other similarly situated potential plaintiffs, satisfy the threshold needed

for a conditional certification. Walker v. Honghua Am., LLC, 870 F. Supp.2d 462, 471 (S.D. Tex.

2012); see also Villarreal v. St. Luke’s Episcopal Hosp., 751 F. Supp. 2d 902, 916 (S.D. Tex.

2010) ((“[A] plaintiff need not present evidence at this stage . . . that aggrieved individuals

actually want to opt in to the lawsuit.”); Tice, 826 F. Supp. 2d at 995 (one potential plaintiff);

Tolentino v. C & J SpecRent Servs. Inc., 716 F. Supp. 2d 642, 653 (S.D. Tex. 2010) (two

declarations of similarly situated individuals and complaint sufficient). The Court reserves the

more searching determination of whether the plaintiffs are similarly situated for after discovery

is complete. White, 236 F.R.D. at 366–67

          For those reasons, the Court is satisfied that there are other potential class members who

may desire to opt-in. Accordingly, the Court finds that conditional certification of the class is

appropriate.

          B.     Scope of Class and Statute of Limitations

          Plaintiff seeks to represent all current and former “operations supervisors” employed by

Defendants during the three-year period preceding the filing of this complaint. Am. Compl.

¶ 3.4, ECF No. 12. The Court finds that conditional certification is appropriate for a class

consisting of individuals employed as operations supervisors by Defendants during the relevant

period.

          Under the FLSA, an action for unpaid overtime compensation must be commenced

within two years after the cause of action accrued, but a cause of action arising out a willful

violation may be commenced within three years. 29 U.S.C. § 255(a). Plaintiff alleged that



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Defendants’ willfully violated the FLSA by failing to pay overtime premiums to Plaintiff and

those similarly situated for all hours worked over forty per week. Am. Compl. ¶ 1.3, ECF

No. 12; Walker, 870 F. Supp. 2d at 472 (stating that notice is proper for potential class members

within the three-year period if plaintiffs allege a willful FLSA violation). In light of the standard

and limited evidence available, the Court declines to make a determination of willfulness at this

stage. See Ryan, 497 F. Supp. 2d at 824 (noting that the determination at the notice stage is made

using a “fairly lenient standard”).

        The Court notes, however that this collective action did not commence until December 4,

2017, when Kristina Travis filed her written consent. See Not. Consent, ECF No. 29; see also 29

U.S.C. § 256.1 The statute of limitations concerns the commencement of the action. See 29

U.S.C. § 255(a). Therefore, the Court defines the class as:

             All operations supervisors employed by Defendants at any time since
             December 4, 2014, until the present.

        C.      Proposed Notice

        Plaintiffs submitted a proposed notice with their motion for conditional certification. See

Pl.’s App. Mot. Cond. Cert., Ex. L (Proposed Notice), 213–18, ECF No. 32. Defendants objected

that Plaintiffs’ proposed notice was insufficient. See Defs.’ Resp. Mot. Cond. Cert. 17–18, ECF

No. 33. Defendants argue: (1) the proper time period for the notice is no more than three years;

(2) the notice should be limited to first-class mail, not email or text messages; (3) that

Defendants should not be required to produce emails and telephone numbers; (4) that Plaintiff

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  While an individual action under Section 255 is commenced on the date the complaint is filed, a
collective action is considered commenced for an individual:
(a) on the date when the complaint is filed, if he is specifically named as a party plaintiff in the complaint
and his written consent to become a party plaintiff is filed on such date in the court in which the action is
brought; or
(b) if such written consent was not so filed or if his name did not so appear-on the subsequent date on
which such written consent is filed in this court in which the action was commenced.”
29 U.S.C. § 256 (emphasis added).

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should not be allowed to send subsequent mailings; and (5) the notice language should be

neutral—the Court’s designation should not be included. Defs.’ Resp. Mot. Cond. Cert. 18–21,

ECF No. 33.

       The Court has already addressed the appropriate time period for the notice above. See

supra Part III.B. Second, Plaintiff shall be able to send notices by mail and electronic mail. See

Lee v. Metrocare Servs., 980 F. Supp. 2d 754, 771 (N.D. Tex. 2013) (ordering defendants to

provide plaintiffs with names, last known addresses, telephone numbers, and email addresses of

potential class members). Plaintiff shall also be able to send a reminder notice thirty (30) days

after the original mailing. Plaintiff cites numerous cases from this district and other district

courts supporting this process and Defendants have not presented the Court with a compelling

reason to deny the reminder notice. Gronefeld v. Integrated Prod. Servs., Inc., 2016 WL

8673851, at *6 (W.D. Tex. Apr. 26, 2016) (ordering reminder notices over defendants’

objection). Therefore, this objection is overruled.

       Finally, the parties must confer with each other in an attempt to resolve any additional

differences regarding the notice, the proper method of distribution, and return of the notice. The

parties, within fourteen days from the date of this order, shall either: (1) submit a joint proposed

notice to the Court; or (2) file a motion for approval of an opposed notice. See infra Part IV.

IV.    CONCLUSION

       Based on the foregoing, the Court GRANTS Plaintiff’s Motion for Conditional

Certification (ECF No. 31) as to current and former operations supervisors employed by

Defendants at any time from December 4, 2014, until the present.




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        Accordingly, it is ORDERED that Defendants provide Plaintiffs with the names and last

known addresses, telephone numbers, and email addresses of operations supervisors employed

by Defendants during the applicable period on or before May 9, 2018.

        It is further ORDERED that the parties confer in an effort to resolve their disagreements

regarding the notice to be sent to the potential plaintiffs. Plaintiffs are ORDERED to file either a

joint proposed class notice or a motion for approval of an opposed notice no later than May 9,

2018.

        SO ORDERED on this 30th day of April, 2018.




                                             _____________________________________
                                             Reed O’Connor
                                             UNITED STATES DISTRICT JUDGE




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